
The People of the State of New York, Respondent,
againstClemence Gerard, Defendant-Appellant.



Defendant appeals from a judgment of the Criminal Court of the City of New York, Bronx County (Steven J. Hornstein, J.), rendered February 13, 2015, convicting him, after a nonjury trial, of attempted assault in the third degree, attempted criminal obstruction of breathing or blood circulation, and harassment in the second degree, and imposing sentence.




Per Curiam.
Judgment of conviction (Steven J. Hornstein, J.), rendered February 13, 2015, affirmed.
The verdict was not against the weight of the evidence (see People v Danielson, 9 NY3d 342, 348—349 [2007]). There is no basis for disturbing the trial court's determinations concerning credibility. The victim's testimony was corroborated, in part, by a second witness, the 911 call and medical records. The issues raised by defendant concerning minor inconsistencies in the testimony, the purported lack of physical evidence of the victim's injuries, and her alleged motive to fabricate her allegations were placed before the trier of fact, and we find no reason on the record before us to disturb its determination.
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur
Decision Date: May 22, 2018










